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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES                                  *
vs.                                            *   Case No.: 21-CR-28-APM
THOMAS E. CALDWELL                             *
         *     *      *      *      *      *       *      *      *       *      *


   DEFENDANT CALDWELL’S REQUEST FOR RECONSIDERATION
REGARDING THE COURT’S RULING ON MOTIONS TO DISMISS COUNTS 1
                   & 2 (18 U.S.C. § 1512(c))

         Defendant, Thomas E. Caldwell, respectfully requests that the Court reconsider its

ruling vis-à-vis Defendants’ motions to dismiss, specifically as to Counts 1 & 2. See

ECF No. 558. While he appreciates the Court’s thoughtful opinion, Caldwell believes

that the Court’s holding that “the actions made unlawful by section 1512(c)(2) are not

limited to those ‘affect[ing] the integrity or availability of evidence in a proceeding,’” is

flawed. ECF No. 558.1 The Court indicated that the “Defendants make no effort to

challenge” the “straightforward” reading that section 1512(c)(2) is untethered by

subsection (c)(1). Caldwell, respectfully, challenges such a broad reading, which is

entirely inconsistent with the plain language of the statute.

      A. The Court’s “plain meaning” determination is inconsistent with § 1512(c)’s
         statutory context.


1
  Caldwell also disagrees with other findings in the Court’s opinion, particularly on the
issue as to whether an “official proceeding” was intended to include the certification of
the Electoral College. However, Caldwell will train his focus on the issue identified by
the Court as the Defendants’ “most substantial” challenge. ECF No. 558 at 25.

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      A substantial flaw in the Court’s opinion is that it inadequately accounts for why

Congress inserted the word “otherwise” in § 1512(c). A thorough review of the entire

statutory context proves that the word “otherwise” was intended by Congress to marry

sections 1512(c)(1) and 1512(c)(2) together. The most obvious contextual evidence that

runs counter to the Court’s “plain meaning” determination is § 1512’s repeated use of the

disjunctive “or” throughout the statute as a way of demarcating plainly separate and

independent conduct. In fact, the word “or” is used nine times in 18 U.S.C. § 1512 to

create twenty separate and independent methods of obstructing justice. For example,

“or” is used in § 1512(a)(1) to demarcate three separate methods of obstructing justice by

murder or attempted murder.2 Similarly, “or” twice appears in § 1512(a)(2), effectively

demarcating seven distinct methods of obstruction through threats or physical force.3 In


2
  (a)(1) Whoever kills or attempts to kill another person, with intent to—
       (A) prevent the attendance or testimony of any person in an official
       proceeding;
       (B) prevent the production of a record, document, or other object, in an
       official proceeding; or
       (C) prevent the communication by any person to a law enforcement officer
       or judge of the United States of information relating to the commission or
       possible commission of a Federal offense or a violation of conditions of
       probation, parole, or release pending judicial proceedings; shall be
       punished as provided in paragraph (3).
18 U.S.C. § 1512(a)(1)(A)-(C) (emphasis added).
3
  (2) Whoever uses physical force or the threat of physical force against any
person, or attempts to do so, with intent to—
       (A) influence, delay, or prevent the testimony of any person in an official
       proceeding;
       (B) cause or induce any person to—
       (i) withhold testimony, or withhold a record, document, or other object,
       from an official proceeding;

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stark contrast, Congress, unlike in twenty surrounding places, inserted “otherwise”

between subsections (c)(1) and (c)(2) of § 1512(c):

       (c) Whoever corruptly—
       (1) alters, destroys, mutilates, or conceals a record, document, or other
       object, or attempts to do so, with the intent to impair the object’s integrity
       or availability for use in an official proceeding; or
       (2) otherwise obstructs, influences, or impedes any official proceeding, or
       attempts to do so, shall be fined under this title or imprisoned not more than
       20 years, or both.

18 U.S.C. § 1512(c) (emphasis added).

       As the Court can see, when Congress set out to create plainly separate and

independent acts of obstruction of justice, it did so twenty times by carefully inserting the

word “or” (without the word “otherwise”) between sections. Accordingly, the Achilles’

heel of the Court’s holding is, respectfully: Why would Congress, after using “or” to

unambiguously demarcate twenty plainly separate and independent methods of

obstructing justice, insert the word “otherwise” between subsections (c)(1) and (c)(2) for




      (ii) alter, destroy, mutilate, or conceal an object with intent to impair the
      integrity or availability of the object for use in an official proceeding;
      (iii) evade legal process summoning that person to appear as a witness, or
      to produce a record, document, or other object, in an official proceeding; or
      (iv) be absent from an official proceeding to which that person has been
      summoned by legal process; or
      (C) hinder, delay, or prevent the communication to a law enforcement
      officer or judge of the United States of information relating to the
      commission or possible commission of a Federal offense or a violation of
      conditions of probation, supervised release, parole, or release pending
      judicial proceedings;
      shall be punished as provided in paragraph (3).
18 U.S.C. § 1512(a)(2)(A)-(C) (emphasis added).

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the exact same purpose? In other words, Congress could have “underscored” that (c)(1)

and (c)(2) involve different obstructive conduct by omitting “otherwise” from the statute

altogether. Logically, therefore, “otherwise” must have been intended by Congress to

have a statutory constructive purpose different than, as the Court found, underscoring

disjunction between the subsections.

       Respectfully, a “straightforward” reading of the statute is an inacurrate reading of

the statute. To accurately read the statute, the Court should consider the language of §

1512(c) sans “otherwise”:

       (1) [Whoever corruptly] alters, destroys, mutilates, or conceals a record,
       document, or other object, or attempts to do so, with the intent to impair the
       object’s integrity or availability for use in an official proceeding; or
       (2) [Whoever corruptly] obstructs, influences, or impedes any official
       proceeding, or attempts to do so[.]

Without “otherwise,” (c)(1) and (c)(2) are disjunctive, independent clauses, clearly

delineate separate conduct, and make perfect sense on their own. In other words,

without using the word “otherwise,” (c)(1) and (c)(2) describe plainly separate and

independent conduct consistent with the Court’s interpretation of the statute. Stated

another way, as “or” (without “otherwise”) 100% effectively disjoins the clauses,

“otherwise” could not have been included in the statute for the purpose of underscoring

disjunction. Why would Congress delineate--twenty times--separate types of obstructive

conduct by using “or,” but then insert the word “otherwise” in § 1512(c) for the same

purpose? Contrary to the Court’s holding, “otherwise” in § 1512(c)(2) must have been

inserted for a reason other than disjunction. Q.E.D.

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   B. The Court Misapplied the Dictionary Definition of “otherwise.”

       The Court referenced multiple dictionaries in reaching its conclusion that

“otherwise” in (c)(2) refers to “in a different way or manner” or in “another way.” ECF

No. 558 at 26. The Court observed that “otherwise” acts as an “adverb” within §

1512(c). Id. Accordingly, the Court substituted the words “in a different manner” for

“otherwise,” finding that “the acts prohibited by (c)(1) are ‘different’ from those

prohibited by (c)(2).” Id. At 27. Respectfully, the Court applied the wrong

grammatical analysis to the term “otherwise.”

   C. Conjunction Junction, What’s Your Function?

       The Court’s finding that “otherwise” is used as an “adverb” in § 1512(c) is

technically correct but unmistakably flawed. There are six types of adverbs in the

English language: adverbs of time, manner, place, degree, frequency, and conjunction.4

The first five types are similar in nature, and are used to modify (typically) verbs within

their clauses or sentences.5 The sixth type of adverb is the “conjunctive adverb,” which

“is an adverb that acts like a conjunction.”6 In § 1512(c), “otherwise” operates as a

conjunctive adverb, which, as will be explained infra, should cause the Court to

reconsider its ruling.



4 https://www.thesaurus.com/e/grammar/types-of-adverbs/ (online thesaurus).
5 Id.
6 Id. A “conjunctive adverb” is sometimes called an “adverbial conjunction.”

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       That “otherwise” in § 1512(c)(2) is a conjunctive adverb is clear. According to a

well-respected dictionary:

       When used to connect two related clauses, otherwise is usually classified as
       a conjunctive adverb, which by grammatical tradition should be preceded
       either by a semicolon or by a period.7

Notably, “otherwise” appears after a semicolon, a blaring grammatical siren that it’s

indeed a conjunctive adverb.8 Additionally, “otherwise” is interspersed between two

independent clauses, another classic tip-off that it is functioning as a conjunctive adverb.9

Additionally, as the Court noted, “otherwise” is an adverb that “connects the two

provisions[.]” ECF No. 558 at 27, fn. 6 (emphasis added). Just as compelling,

“otherwise,” which the Court and Caldwell both agree is used as an adverb, does not

modify any words that appear after it in subsection (c)(2). An adverb’s grammatical




7 AMERICAN HERITAGE DICTIONARY OF THE ENGLISH LANGUAGE (5th Ed. 2020),
https://www.ahdictionary.com/word/search.html?q=otherwise, (Usage note) (emphasis
original).
8 William & Mary Writing Resource Center, wm.edu/as/wrc/newresources/handouts/the-
semicolon.pdf (listing “otherwise” as a common conjunctive adverb placed after a
semicolon).
9
  Id. See also Jennifer Gunner, M.Ed. (Education),
https://grammar.yourdictionary.com/parts-of-speech/adverbs/con-adverb.html
(“Conjunctive adverbs can follow a semicolon or a period and typically have a comma
after them.”). While the modern MLA style of writing suggests that a comma should be
placed after a conjunctive adverb, this grammatical preference does not necessarily apply
to “otherwise,” which is one of the few conjunctive adverbs that doesn’t end with –ly.
See, e.g. AMERICAN HERITAGE DICTIONARY OF THE ENGLISH LANGUAGE (5th Ed. 2021),
https://www.ahdictionary.com/word/search.html?q=otherwise (usage note regarding
“otherwise”) (“When introducing a new clause, otherwise is often followed by a
comma.”) (emphasis added).

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duty is to act as a “modifier,” i.e., “add information to another element in the sentence.”10

“Otherwise” does not add information about the words “obstructs, influences, or

impedes,” which logically means that, by process of elimination, “otherwise” in (c)(2)

acts as a conjunctive adverb.



   D. A “conjunctive adverb” conjoins and modifies two separate clauses.

       Respectfully, Caldwell is not being grammatically nit-picky. Analyzing

(correctly) the word “otherwise” as a conjunctive adverb substantially changes the

calculus of interpreting § 1512(c). The difference between “otherwise” the “adverb” and

“otherwise” the “conjunctive adverb” is significant. An “adverb” modifies an adjacent

word, e.g., “she believed otherwise,” “quickly ran,” “knocked on the door loudly,”

“briefly spoke,” “went to the basement quietly,” etc. Conjunctive adverbs, by contrast,

do not modify adjacent words; instead, these grammatical renegades relate the entire

adverbial clause back to the preceding clause, thus modifying, in some respect, the first

clause:

       Most of the time, adverbs are words that we use to modify verbs,
       adjectives, or other adverbs. … A conjunctive adverb acts differently
       than other adverbs by connecting independent clauses that can stand alone
       as sentences. In this way it is still acting as a modifier by using one clause
       to modify another.11


10 University of Ottawa Writing Center,
https://arts.uottawa.ca/writingcentre/en/hypergrammar/modifiers
11
   Dictionary.com (online dictionary and thesaurus),
https://www.thesaurus.com/e/grammar/conjunctive-adverbs/ (emphasis added). See also
Renee Banzhaf, M.Ed. in English Education, https://grammar.yourdictionary.com/parts-

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A “conjunctive adverb” is “a word that modifies a whole previous statement.” Frederick

Crews, The Random House Handbook 403 (6th ed. 1992). A “conjunctive adverb . . .

brings together two complete thoughts like a conjunction[] [and] use[s] the second clause

to modify the first clause like an adverb.”12 In other words, contrary to the Court’s

holding, “otherwise” was not intended to signify disjunction, i.e., “to underscore that the

acts prohibited by (c)(1) are ‘different’ from those prohibited by (c)(2).” ECF. No 558 at

27, fn. 6. Au contraire, the use of “otherwise” as a conjunctive13 adverb is proof

positive that Congress intended to inextricably tie these clauses together with the

adverbial clause (“obstructs, influences, or impedes”) modifying the opening clause.

       Accordingly, analyzed through the conjunctive adverb lens, “otherwise” was

obviously intended to marry (c)(2) to (c)(1) for the purpose of modifying the language in

(c)(1). First, as posited supra: Why would Congress insert “otherwise” in (c)(2) when

“or” would accomplish the goal of disjoining it from (c)(1)? Accordingly, the Court’s

conclusion that “otherwise” serves to “connect the two provisions but underscores that

the acts prohibited by (c)(1) are ‘different’ from those prohibited under (c)(2),” ecf. no.



of-speech/adverbs/list-of-conjunctive-adverbs.html (“Conjunctive adverbs function as
both conjunctions (by joining ideas) and as adverbs (by modifying parts of the
sentence).”); Andrew Smith, Global Business Language Consultant, We Speak Business,
https://www.we-speak-business.com/blog/conjunctive-adverbs (“The role of the
conjunctive adverb is to turn the clause that it introduces into an adverbial modifier of the
previous clause.”).
12
   Jennifer Gunner, M.Ed. (Education), YourDictionary.com,
https://grammar.yourdictionary.com/parts-of-speech/adverbs/con-adverb.html
13
   In Latin, “conjunction” literally translates to “join together.”

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558, fn. 6 (emphasis added), respectfully, implicitly suggests that “otherwise” is

surplussage.14 The Court and Caldwell agree on two things: “otherwise” is used as an

“adverb,” and, accordingly, (c)(1) and (c)(2) are “connected” by that term. A flaw in the

Court’s reasoning, however, is that when used as an “adverb” to “connect” two clauses,

“otherwise” is a conjunctive adverb, which, by definition, means that the “otherwise,” or

adverbial, clause is not modified itself but, rather, modifies the opening clause. In other

words, (c)(2)’s “obstructs, influences, or impedes” modifies language in the first clause,

and is manifestly not language independent of (c)(1).

     E. So what did Congress intend?

        By adding the conjunctive adverb “otherwise” to § 1512(c), Congress intended

three things. First, Congress, in contradistinction to twenty other portions of 18 U.S.C. §

1512, created a clear interrelationship—a “conjunctive relationship” -- between (c)(1)

and (c)(2). Second and related, Congress intended the adverbial clause, i.e., “obstructs,

influences, or impedes,” to modify in some way the language in the opening clause.

Third, as “otherwise” is a term of contrast, the adverbial clause, subsection (c)(2), was

likely intended by Congress to enlarge the proscribed conduct in (c)(1). With this

background in mind, a fair reading of the statute is: “Whoever corruptly alters, destroys,

mutilates, or conceals a record, document, or other object with the intent to impair the



14
   Congress could have “underscored” that (c)(1) and (c)(2) prohibited different conduct
by omitting the word “otherwise.” The Court’s finding on this point is, respectfully,
flawed.

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object’s integrity or availability for use in an official proceeding, or who engages in

similar, but unenumerated, obstructive conduct involving the integrity and production of

documentary evidence for an official proceeding,” is guilty under § 1512(c).

       Such a reading of § 1512(c) takes into account that the term “otherwise” does two

things: it creates a connection between (c)(1) and (c)(2), while it expands the reach of

the verbs of proscription in subsection (c)(1). Congress’s intent was to proscribe

obstructive conduct regarding the integrity and production of documents and objects that

might otherwise slip through the cracks without a broad residual clause. Some examples

include:

   1) A person feigns a COVID infection and quarantines himself to avoid producing

       documents under a time-sensitive subpoena by a grand jury.

   2) A corporate executive, knowing that he could be indicted for fraud, hands over to

       the Government, in response to a subpoena, three tractor-trailers full of non-

       germane documents, knowing that the smoking-gun document is buried at the

       bottom, ensuring that prosecutors miss the statute of limitations.

   3) A person under grand jury investigation with the IRS, knowing that a windstorm is

       about to hit his residence, sets all of his incriminating paperwork on a front porch

       table, where they proceed to be blown away, making them unavailable for an

       official proceeding.




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   4) A lawyer files multiple frivolous challenges to a court order or subpoena to avoid

       document production, admitting that she filed the litigation for no other reason but

       to delay handing over documents for use in an official proceeding.

   5) A person, knowing that their iPhone contains incriminating texts messages, deletes

       selected, non-incriminating texts, which changes the context of other texts

       messages, deliberately making them look less incriminating to the grand jury.

   6) Knowing that a plaintiff, because of a mandatory deadline, has one hour left to

       hand-file a make-or-break pleading at the courthouse, a person slashes the

       plaintiff’s tires, preventing him from making the filing, which causes the

       plaintiff’s case to be dismissed.

   7) A corporate fraud suspect changes the company password to computer files, which

       have been subpoenaed, preventing access by investigators and others.

In the above scenarios, the wrong-doers did not “alter[], destroy[], mutilate[], or

conceal[]” a record as enumerated in subsection (c)(1), but their conduct could still be

prosecuted under § 1512(c). Congress’s intent was to criminalize obstructive conduct

technically not captured or anticipated under (c)(1), not to hand prosecutors a sweeping,

over-lapping obstruction of justice statute equipped with a 20-year maximum penalty

sledgehammer.

       As the Supreme Court has emphasized “over and over,” when “expounding a

statute, we must not be guided by a single sentence or member of a sentence, but look to

the provisions of the whole law, and to its object and policy.” U.S. Nat’l Bank v.

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Independent Ins. Agents of Amer., 508 U.S. 439, 455 (1993) (internal citations omitted).

The current version of § 1512(c) was enacted as part of Sarbanes-Oxley and was intended

by Congress to improve the accuracy of corporate disclosures by penalizing those who

obstruct justice “by impairing the integrity or availability of records, documents, and

other tangible objects.” United States v. Hutcherson, No. 6:05CR00039, 2006 U.S. Dist.

LEXIS 6652, at *6-7 (W.D. Va. Feb. 3, 2006). Accordingly, “the amended § 1512(c)

created a specific subsection dealing with tampering with tangible evidence, in what was

otherwise a statute that previously dealt only with tampering of persons.” Id. Section

1512 was not intended to create two separate crimes, but instead, was “meant to

criminalize difficult to enumerate conduct that would otherwise slip past Section

1512(c)(1)’s specific proscription. Id. Accord United States v. Pugh, No. 15-CR-116

(NGG), 2015 U.S. Dist. LEXIS 170271, at *54-55 (E.D.N.Y. Dec. 21, 2015)

(“Accordingly, this structure suggests that subsections (1) and (2) of Section 1512(c)

outlining two separate ways that a person can corruptly violate the statute.”).

   F. Conclusion

       Respectfully, the Court should reconsider its ruling as to Caldwell’s motion to

dismiss as to Counts 1 & 2 of the sixth superseding indictment. Why would Congress

add “otherwise”—or, for that matter, any other word—to disjoin (c)(1) and (c)(2), when

the statutory language, sans “otherwise,” would have accomplished the same objective?

Additionally, “otherwise,” which appears immediately after a semicolon and separates

two otherwise independent clauses, is used in § 1512(c) as a conjunctive adverb. As

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such, the adverbial clause (“obstructs, influences, or impedes”) modifies the verbs

(“alters, destroys, mutilates, or conceals”) in the opening clause. The purpose of

“otherwise” was both “conjunctive” and “adverbial,” i.e., to show a relationship

(conjoined) between the clauses, and to expand the reach of the enumerated verbs in

(c)(1) to similar, but unenumerated actions vis-à-vis the production of tangible evidence.

As Caldwell’s alleged criminal actions on J6 have no connection to tangible evidence, his

Motion to Dismiss should be granted.




                                                           /s/
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                              CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on this 24th day of December, 2021, a copy of the foregoing
Defendant Caldwell’s Notice of New Authority was electronically filed with the Clerk of the
United States District Court using CM/ECF, with a notice of said filing to the following:

Counsel for the Government:                Office of the United States Attorney
                                           555 4th Street, NW
                                           Washington, DC 20001

                                                          /s/
                                                  David W. Fischer, Esq.




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